                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


 PHILADELPHIA YEARLY MEETING OF
 THE RELIGIOUS SOCIETY OF FRIENDS,
 NEW ENGLAND YEARLY MEETING OF
 THE RELIGIOUS SOCIETY OF FRIENDS,
 BALTIMORE YEARLY MEETING OF THE
 RELIGIOUS SOCIETY OF FRIENDS, INC.,
 ADELPHI FRIENDS MEETING OF THE
 RELIGIOUS SOCIETY OF FRIENDS and
 RICHMOND FRIENDS MEETING OF THE
 RELIGIOUS SOCIETY OF FRIENDS,

        Plaintiffs,                                        Civil Action No. TDC-25-0243

        v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY and
 KRISTI NOEM,
 in her official capacity as Secretary of the
 Department of Homeland Security,

        Defendants.



                                CASE MANAGEMENT ORDER

         Federal Rule of Civil Procedure 83(b) provides that “[a] judge may regulate practice in any
manner consistent with federal law, rules adopted under 28 U.S.C. §§ 2072 and 2075, and the
district’s local rules.” Such case management includes holding pretrial conferences for the purpose
of “establishing early and continuing control so that the case will not be protracted because of lack
of management” and “discouraging wasteful pretrial activities.” Fed. R. Civ. P. 16(a).

        Pursuant to these authorities, and in an effort to streamline proceedings, reduce
unnecessary and costly motions practice, and “to secure the just, speedy, and inexpensive
determination of every action and proceeding,” Fed. R. Civ. P. 1, this Standing Case Management
Order (the “Case Management Order”) shall govern in all civil proceedings before Judge Chuang.
Although this Case Management Order places formal requirements on the manner in which cases
shall proceed, it is intended only to more effectively channel the efforts of litigants and allocate
the resources of the Court. It does not, and is not intended to, modify or abridge any substantive
rights of any litigant.
I.    Applicability of this Order

      A. Effective Date

         1. This Case Management Order is effective upon its filing as to any parties who have
            already appeared.

         2. With respect to parties who have not appeared at the time that this Case
            Management Order is entered upon the docket, this Case Management Order is
            effective immediately upon receipt. Entry of an appearance by counsel, which
            includes gaining access to the docket of this case through CM/ECF, shall constitute
            receipt. However, this Case Management Order is not to be construed so as to
            penalize any party who violates its terms without having received notice of its
            contents. See Fed. R. Civ. P. 83(b).

      B. Service of this Order

         1. If this Case Management Order is entered before the summons and complaint have
            been served upon all Defendants, a copy of this Case Management Order shall be
            served upon any unserved Defendants simultaneously with the summons and
            complaint, in any manner authorized by Rule 4(c).

         2. If this Case Management Order is entered after the summons and complaint have
            been served upon all defendants, but before all defendants have appeared, Plaintiff
            shall serve a copy of this Case Management Order on all Defendants who have not
            yet appeared in a manner consistent with Rule 5(b) and reasonably calculated to
            provide prompt, actual notice of this Case Management Order. Such service is to
            be effected within three (3) business days of entry of this Case Management Order,
            unless good cause is shown as to why service cannot be effected within that time.

II.   Motions Practice

      A. Requirement for a Pre-Motion Notice and a Pre-Motion Conference

         1. No motions may be filed without first seeking a Pre-Motion Conference with
            the Court. This limitation applies to any and all motions, including Motions to
            Dismiss filed in lieu of an Answer, with the exception of (1) Motions for an
            Extension of Time; (2) Motions to Seal; (3) Motions for Clerk’s Entry of Default;
            (4) Motions for Default Judgment; (5) Motions for Admission pro hac vice; (6)
            Motions in Limine when filed pursuant to the Court’s Pretrial Scheduling Order;
            and (7) motions in prisoner cases in which the prisoner is not represented by
            counsel.

         2. If a party intends to file a motion, it must first file a Notice of Intent to File a Motion
            (“Notice”), which shall take the form of a letter to the Court, not to exceed three
            single-spaced pages, containing a brief description of the motion sought to be filed
            and a brief summary of the particularized factual and legal support for the motion.
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   The Notice shall contain sufficient information to demonstrate that it is premised
   on colorable, good-faith arguments and is not frivolous or brought for any improper
   purpose, Fed. R. Civ. P. 11, but need not contain more. The Notice shall state
   whether the parties have met and conferred to discuss whether the matter at issue
   can be resolved without a motion.

3. No response to a Notice is necessary or shall be permitted.

4. The timely filing of a Notice, within the time period to file the underlying motion
   to which it relates, will result in an automatic extension of the time to file such
   motion until the date set by the Court at the Pre-Motion Conference; no motion for
   an extension is necessary. For example, if a Notice seeks to file a pre-Answer
   motion to dismiss, this provision will apply, and the time to answer provided in
   Federal Rule of Civil Procedure 12(a) will be tolled.

5. Upon receipt of a Notice, the Court promptly will schedule a telephonic Pre-Motion
   Conference with all parties. In addition to the proposed motion, the parties should
   be prepared to address whether they consent, pursuant to 28 U.S.C. § 636(c), to
   have all further proceedings before a Magistrate Judge and whether they wish to
   participate in a mediation session with a Magistrate Judge, whether before, during,
   or after discovery. Parties are expected to consult with their clients and confer
   with each other on these issues in advance of the Pre-Motion Conference and,
   if possible, present joint views to the Court.

6. Pursuant to Local Rule 105.3, no memorandum or brief in support of a motion or
   in opposition thereto shall exceed the page limits set forth in the version of the
   Local Rules in effect at the time of filing, exclusive of exhibits and tables, without
   prior approval from the Court. No reply brief may be longer than the brief to
   which it is responding. Approval to exceed these page limits may be sought during
   the Pre-Motion Conference.

7. All briefs must be double-spaced and have margins of at least one-inch on each
   side, and all text, including text in footnotes, must be in Times New Roman
   font, 12-point or higher. Footnotes are limited to no more than five single-
   spaced lines on any single page.

8. Any citations to internet sources must be accompanied by a copy of the cited
   webpage attached as an exhibit.

9. Except as provided herein or as ordered during a Pre-Motion Conference, all
   Motions must comply with the Local Rules of this Court, particularly with Local
   Rule 105.2(c), covering cross-motions for summary judgment, Local Rule 105.3,
   providing for page limits, and Local Rule 105.4, providing for tables of contents in
   lengthy memoranda.

10. In the event that the Court determines that no Conference is necessary, it will cancel
    the Conference and issue an Order authorizing the filing of the motion in
    accordance with the terms of this Case Management Order and the Local Rules.
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B. Procedures for Submission of Evidentiary Materials with Motions

   1. In the event that a party files a Motion for Summary Judgment, or parties file Cross
      Motions for Summary Judgment, pursuant to Federal Rule of Civil Procedure 56,
      all parties shall cooperate to compile a joint statement of facts that are not disputed
      for the purposes of summary judgment. Such facts should be submitted in a Joint
      Statement of Undisputed Facts and need not—and should not—be supported with
      additional documentary evidence. The parties may stipulate to facts, or to the
      authenticity, relevance, or admissibility of particular documents, for the purposes
      of summary judgment without prejudice to their ability to dispute such facts in good
      faith at later proceedings. The parties shall not submit separate “Plaintiff’s
      Statement of Undisputed Facts” or Defendant’s Statement of Undisputed Facts” on
      which there is no joint agreement.

   2. With respect to all other evidence to be considered on summary judgment, the
      parties must submit a single, consolidated record (the “Joint Record”), as follows:

      a. The party filing first shall compile any exhibits needed to support its position.
         All exhibits shall be provided in a clear format that includes the complete
         document, rather than an excerpt. All deposition transcripts shall be provided
         in their entirety in “minuscript” (four transcript pages per printed page) format,
         and the cited portions shall be highlighted in a manner that allows both the
         highlighting and the highlighted text to be clear and easily seen as filed. Any
         lengthy documents (more than 10 pages) of which only certain portions are
         relevant shall be highlighted similarly. If only a de minimis portion of a
         document or deposition is necessary, the parties may seek permission to file
         only the first page of the document and the relevant portion.

      b. All exhibits must be produced in a clear, legible format. Photographic or
         photocopied exhibits must be included in their original format (color or black-
         and-white) and in sufficient quality and resolution that their contents are
         reasonably clear. Any documents that cannot be printed on standard 8.5"x11"
         paper must, to the extent possible, be placed in a folder or securely affixed to a
         page of paper or cardstock that is 8.5"x11".

      c. The initial movant’s exhibits shall be tabbed with exhibit numbers and each
         page shall be consecutively numbered (such as with a Bates stamp or equivalent
         method) so that, for example, the first page of exhibit two will bear the number
         immediately following the number of the last page in exhibit one, and so forth
         for all the exhibits. Each page submitted will therefore have a unique Joint
         Record (“J.R.”) number.

      d. No exhibits need be filed with the court with the filing of the initial motion, but
         the exhibits shall be provided to the opposing party in a manner that allows
         them to cite to the exhibit and J.R. numbers used by the movant. All citations
         shall be to both the relevant exhibit and J.R. number. For citations to deposition

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   transcripts with multiple pages of transcript on a single exhibit page, the original
   transcript page and relevant line numbers shall be provided in parentheses
   following the exhibit number and J.R. number.

e. The respondent/cross-movant shall not provide duplicates of any of the initial
   movant’s exhibits but, to the extent necessary, shall cite to those same exhibits
   by exhibit and J.R. number. To the extent practicable, the respondent/cross-
   movant shall ensure that relevant portions of depositions or lengthy documents
   are highlighted even if those exhibits originally were provided by movant.

f. If the respondent/cross-movant seeks to rely upon additional exhibits, or to
   submit any other materials, it shall do so in the same format as provided in
   paragraphs 2.a–d above. Respondent/cross-movant shall begin numbering its
   exhibits and its pages where movant’s exhibits/pages left off. For example, if
   movant provides fifteen exhibits, numbered 1–15, and comprising pages 1–200,
   respondent/cross-movant should begin with exhibit 16, and the first page should
   be numbered 201.

g. The same procedure shall be followed for exhibits relevant to subsequently filed
   memoranda, such as a reply or, if permitted by the Court, surreply
   memorandum.

h. If a party believes that it requires additional facts to oppose summary judgment
   pursuant to Federal Rule of Civil Procedure 56(d), it shall state those facts with
   particularity in an affidavit and include that affidavit as an exhibit in the Joint
   Record.

i. Any objections to an exhibit shall be stated, in 250 words or less, on a cover
   page to that exhibit. “Under Fed. R. Civ. P. 56, as amended in 2010, facts in
   support of or opposition to a motion for summary judgment need not be in
   admissible form; the requirement is that the party identify facts that could be
   put in admissible form.” Mallik v. Sebelius, 964 F. Supp. 2d 531, 546 (D. Md.
   2013). Accordingly, the mere fact that a document is inadmissible in its current
   form is not a valid objection. Similarly, objections to the contents or credibility
   should not be made unless they have a nonfrivolous basis. The party offering
   an exhibit may respond to the objection in 250 words or less, on the same cover
   page. However, an objection to an adversary’s exhibit is not a basis for
   excluding any document from the Joint Record.

j. Within seven (7) days of the filing of the final brief on the Motion, the parties
   jointly shall file the Joint Record, both electronically and in hard copy in a
   single, bound volume (or, if necessary, multiple, numbered volumes).
   Notwithstanding Local Rule 105.5, all exhibits shall be tabbed and indexed, and
   shall be bound along the left side either in a three-ring binder, spiral binding, or
   by any other secure means of binding that allows the Joint Appendix to lay flat
   when opened.

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             k. Within seven (7) days of the filing of the Joint Record, the parties jointly shall
                file a table that lists each exhibit as a separate row and, for each exhibit,
                provides the following information in separate columns: (1) the exhibit
                number; (2) the exhibit title; (3) the J.R. number of the page on which the
                exhibit begins; and (4) the number of the CM/ECF docket entry in which the
                exhibit appears. For each row, this information shall be provided in the order
                in which it is listed here. The rows of exhibits shall be organized by exhibit
                number, in ascending order starting with the lowest exhibit number.

          3. The procedures for the submission of exhibits using a Joint Record as described in
             paragraph (2), above, shall also be followed by the parties in submitting exhibits in
             relation to any other substantive motion for which exhibits are relevant, including
             but not limited to a motion to dismiss, a motion for a preliminary injunction, or a
             motion for a new trial.



Date: January 28, 2025                                             /s/
                                                    THEODORE D. CHUANG
                                                    United States District Judge




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